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                        IN THE UNITED STATES DISTRICT COURT
                         FOR THE WESTERN DISTRICT OF TEXAS
                                   WACO DIVISION

    RAW RESOURCES, LLC and                       §    CIVIL ACTION NO. 6:23-cv-00284
    RAW ELECTRIC, LLC,                           §
                                                 §
          Plaintiffs,                            §    JURY TRIAL DEMANDED
                                                 §
    v.                                           §
                                                 §
    EM RESOURCES LLC f/k/a BORAL                 §
    RESOURCES LLC,                               §
                                                 §
          Defendant.                             §

                          PLAINTIFFS’ ORIGINAL COMPLAINT

         Plaintiff RAW Resources, LLC (“RAW Resources”), in its capacity as Contractor under a

Fixed-Price Construction Contract (dated February 21, 2022) by and between RAW Resources

and Defendant EM Resources LLC f/k/a Boral Resources LLC1 (“EM Resources”), and Plaintiff

RAW Electric, LLC (“RAW Electric”), in its capacity as Contractor under a Fixed-Price

Construction Contract (dated February 24, 2022) by and between RAW Electric and EM

Resources, file this action to recover damages arising from EM Resources’ breach of the contracts.2

Per the construction contracts, EM Resources engaged RAW Resources and RAW Electric

(collectively, “RAW” or “Plaintiffs”) to perform Work at the Oak Grove Bottom Ash Grinding

Project at the Oak Grove Station, located in Franklin, Texas. RAW fully performed their

obligations, and submitted applications for payment monthly to EM Resources for the Work

completed. Although EM Resources never disputed any application for payment, it refuses to pay



1
  According to an Amendment to Registration filed with the Texas Secretary of State on March
15, 2022, Boral Resources, LLC (TxSOS Filing Number 802510599) changed its name to EM
Resources, LLC.
2
  Initially capitalized terms used in this Complaint and that are not otherwise defined herein have
the same meaning as is ascribed to such terms in the Fixed-Price Construction Contract.
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RAW Resources over $1,600,000 and RAW Electric over $900,000. EM Resources’ failure to

honor its contractual obligations under the construction contracts leaves RAW no choice but to

bring the claims alleged below.

                                            PARTIES

        1.      RAW Resources is a Delaware limited liability company with its principal place of

business at 974 Greasy Ridge Road, Princeton, West Virginia 24740, and neither it nor its members

is a citizen of the State of Texas.

        2.      RAW Electric is a Delaware limited liability company with its principal place of

business at 974 Greasy Ridge Road, Princeton, West Virginia 24740, and neither it nor its members

is a citizen of the State of Texas.

        3.      EM Resources is a Delaware limited liability company with its principal place of

business at 10701 South River Front Parkway, Suite 300, South Jordan, Utah 84095, and neither

it nor its members is a citizen of the State of Texas. Registered with the Texas Comptroller of

Public Accounts (Tax ID 32061164854), EM Resources’ outlet name is “Boral Resources” with

twelve locations in Texas, including one at 8127 Oak Grove Road, Franklin, Texas 77856. EM

Resources may be served with process through its registered agent, CT Corporation System, 1999

Bryan Street, Suite 900, Dallas, Texas 75201.

                                  JURISDICTION AND VENUE

        4.      This Court has jurisdiction over the subject matter under 28 U.S.C. § 1332(a)(1)

because this action is between citizens of different states and the amount in controversy exceeds

$75,000, exclusive of interest and costs.

        5.      This Court has personal jurisdiction over EM Resources because it purposefully

directed its activities at Texas, including Texas residents who purchase coal fly ash and bottom



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ash from EM Resources for use in a broad range of applications including concrete pavements,

asphalt, road base, building material applications, embankments, mineral fillers, soil stabilization,

or fertilizers. EM Resources operates a bottom ash harvesting and grinding business, resides in,

and transacts business in this district. EM Resources also has sufficient business or contacts within

the State of Texas to justify jurisdiction under the United States Constitution and the Texas long-

arm statute because, among other things, it has twelve outlet locations in Texas, including one in

Robertson County.

       6.      Venue is proper in this Court under 28 U.S.C. § 1391(b)(2) because this judicial

district is where a substantial part of the events or omissions giving rise to the claims occurred.

                                  FACTUAL BACKGROUND

A.     EM Resources’ business and activities

       7.      In February 2022, Eco Material Technologies, Inc. announced that it acquired Boral

Limited’s North American fly ash business. Fly ash and bottom ash are naturally-occurring

products from the coal combustion process.

       8.      EM Resources, a division of Eco Material Technologies, markets and distributes

coal combustion products (“CCPs”) in Texas and throughout the United States.

       9.      From the Oak Grove site in Franklin, Texas, EM Resources harvests previously

disposed CCPs and processes the ash for use in building materials, among other things.

                  The February 21, 2022 Fixed-Priced Construction Contract

       10.     On February 21, 2022, RAW Resources and EM Resources executed the Fixed-

Price Construction Contract under which EM Resources agreed to pay RAW Resources

$5,307,212.40 for the full performance of the Work of this Contract. A true and correct copy of

the February 21, 2022 Fixed-Price Construction Contract is attached hereto as Exhibit A.



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                   The February 24, 2022 Fixed-Priced Construction Contract

       11.     On February 24, 2022, RAW Electric and EM Resources executed the Fixed-Price

Construction Contract under which EM Resources agreed to pay RAW Electric $6,541,079.48 for

the full performance of the Work of this Contract. A true and correct copy of the February 24,

2022 Fixed-Price Construction Contract is attached hereto as Exhibit B.

       12.     The construction contracts provide, in relevant part, as follows:

       Contractor shall submit applications for payment monthly following the Notice to
       Proceed, which applications for payment shall reflect estimated progress as of the
       end of that month for that portion of the Work actually completed. Applications for
       payment shall be in writing and Contractor shall provide support reasonably
       satisfactory to Owner in respect of each such application. With each application for
       payment, Contractor shall also deliver a waiver and release in a form complying
       with the law of the State of Texas as attached at Exhibit 3 to this Contract.

Contract, § 5.3.

B.     EM Resources’ default of its payment obligations

       13.     After completing required Work, RAW Resources and RAW Electric submitted

applications for payment to EM Resources, in accordance with the construction contracts.

       14.     The construction contracts provide, in relevant part, as follows:

       Within seven (7) calendar days of receiving Contractor’s application for payment,
       Owner shall notify Contractor in writing if it disputes any progress estimates or
       amounts claimed in the application for payment. Owner’s failure to so notify
       Contractor shall constitute Owner’s approval of the application for payment. Owner
       shall pay amounts not subject to dispute and otherwise properly payable to
       Contractor in accordance with the Contract Documents within thirty (30) calendar
       days following Owner's receipt of a payment application and waiver and release
       form. Provided, however, Owner may retain ten percent (10%) of each such
       application for payment (the “Retainage”) until the progress of the Work reaches
       fifty percent (50%) completion. Thereafter, Owner shall not retain any additional
       amount from progress payments to Contractor. Contractor's application for
       payment shall reflect the total payment due less Retainage. Owner shall pay the
       Retainage held once Contractor achieves Substantial Completion of the Work.

Contract, § 5.3.



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       15.     EM Resources never timely disputed any application for payment submitted by

RAW Resources or RAW Electric.

       16.     EM Resources is liable to RAW Resources, without offset or defense, for the

indefeasible payment in full of the outstanding applications for payment plus all costs, fees,

expenses, interest and other charges, including but not limited to, attorneys’ fees, under the

February 21, 2022 Fixed-Price Construction Contract.

       17.     EM Resources is liable to RAW Electric, without offset or defense, for the

indefeasible payment in full of the outstanding applications for payment plus all costs, fees,

expenses, interest and other charges, including but not limited to, attorneys’ fees, under the

February 24, 2022 Fixed-Price Construction Contract.

       18.     EM Resources is in default under the terms and conditions of the construction

contracts; the defaults are continuing; and the defaults have not been cured.

       19.     Despite demand, EM Resources has failed and refused, and continues to refuse, to

pay (i) RAW Resources the amount of indebtedness due and owing under the February 21, 2022

Fixed-Price Construction Contract and (ii) RAW Electric the amount of indebtedness due and

owing under the February 24, 2022 Fixed-Price Construction Contract.

       20.     All necessary notices under the construction contracts or applicable law have been

given by RAW Resources and/or RAW Electric to EM Resources, and any applicable cure periods

under the construction contracts with respect thereto have expired.

                                            COUNT I

                                  BREACH OF CONTRACT

       21.     Plaintiffs hereby incorporate by reference each of their allegations contained in

paragraphs 1-20 of this Complaint as if set forth herein.



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       22.     The February 21, 2022 Fixed-Price Construction Contract constitutes a valid and

enforceable contract between RAW Resources and EM Resources.

       23.     RAW Resources has performed all conditions, covenants, and promises required

on its part to be performed in accordance with the terms and conditions of the February 21, 2022

Fixed-Price Construction Contract.

       24.     EM Resources breached the February 21, 2022 Fixed-Price Construction Contract

by failing to pay RAW Resources the amounts owed for Work completed, as reflected in the

applications for payment RAW Resources prepared and provided to EM Resources during the

course of performance of the contract.

       25.     As a result of EM Resources’ breach of contract, RAW Resources has been

damaged in the amount of $1,606,949.83, the total amount of unpaid applications for payment

owed by EM Resources to RAW Resources.

                                            COUNT II

                                  BREACH OF CONTRACT

       26.     Plaintiffs hereby incorporate by reference each of their allegations contained in

paragraphs 1-20 of this Complaint as if set forth herein.

       27.     The February 24, 2022 Fixed-Price Construction Contract constitutes a valid and

enforceable contract between RAW Electric and EM Resources.

       28.     RAW Electric has performed all conditions, covenants, and promises required on

its part to be performed in accordance with the terms and conditions of the February 24, 2022

Fixed-Price Construction Contract.

       29.     EM Resources breached the February 24, 2022 Fixed-Price Construction Contract

by failing to pay RAW Electric the amounts owed for Work completed, as reflected in the



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applications for payment RAW Electric prepared and provided to EM Resources during the course

of performance of the contract.

       30.     As a result of EM Resources’ breach of contract, RAW Electric has been damaged

in the amount of $904,822.08, the total amount of unpaid applications for payment owed by EM

Resources to RAW Electric.

                                           COUNT III

                                       QUANTUM MERUIT

       31.     Plaintiffs hereby incorporate by reference each of their allegations contained in

paragraphs 1-20 of this Complaint as if set forth herein.

       32.     Pleading in the alternative, to the extent (i) the February 21, 2022 Fixed-Price

Construction Contract is not a valid and enforceable contract, (ii) the existing contract does not

cover the subject matter of the dispute between the parties, (iii) RAW Resources performed

services or provided materials that were outside of or over and above those contemplated by the

existing contract, or (iv) the existing contract is void, invalid, or unenforceable, the services and

materials RAW Resources provided to EM Resources were rendered under an understanding and

expectation of both parties that compensation therefor was to be made.

       33.     RAW Resources acted pursuant to an explicit or implicit request for services and

materials by EM Resources.

       34.     EM Resources was aware and knew that RAW Resources was not providing the

services and materials gratuitously.

       35.     The services and materials provided by RAW Resources conferred a benefit on EM

Resources. The amount of that benefit is quantified in the unpaid applications for payment.




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       36.     As a result of EM Resources’ refusal to pay RAW Resources for the reasonable

value of the services and materials provided, RAW Resources has been damaged in the amount of

$1,606,949.83, plus interest, costs, and expenses.

                                            COUNT IV

                                       QUANTUM MERUIT

       37.     Plaintiffs hereby incorporate by reference each of their allegations contained in

paragraphs 1-20 of this Complaint as if set forth herein.

       38.     Pleading in the alternative, to the extent (i) the February 24, 2022 Fixed-Price

Construction Contract is not a valid and enforceable contract, (ii) the existing contract does not

cover the subject matter of the dispute between the parties, (iii) RAW Electric performed services

or provided materials that were outside of or over and above those contemplated by the existing

contract, or (iv) the existing contract is void, invalid, or unenforceable, the services and materials

RAW Electric provided to EM Resources were rendered under an understanding and expectation

of both parties that compensation therefor was to be made.

       39.     RAW Electric acted pursuant to an explicit or implicit request for services and

materials by EM Resources.

       40.     EM Resources was aware and knew that RAW Electric was not providing the

services and materials gratuitously.

       41.     The services and materials provided by RAW Electric conferred a benefit on EM

Resources. The amount of that benefit is quantified in the unpaid applications for payment.

       42.     As a result of EM Resources’ refusal to pay RAW Electric for the reasonable value

of the services and materials provided, RAW Electric has been damaged in the amount of

$904,822.08, plus interest, costs, and expenses.



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                                        PRAYER FOR RELIEF

          For the foregoing reasons, Plaintiffs respectfully request that the Court summons EM

Resources to appear and answer, and that, on final trial, the Court enter a judgment against EM

Resources for all relief sought herein as follows:

          a.     That Plaintiffs be awarded compensatory damages in an amount to be proven at trial;

          b.     That EM Resources pay Plaintiffs’ reasonable attorneys’ fee according to proof;

          c.     That EM Resources pay the costs of court and expenses incurred by Plaintiffs in this

action;

          d.     That EM Resources pay Plaintiffs pre-judgment and post-judgment interest on the

damages awarded, continuing until such judgment is paid, at the maximum rate allowed by law;

and

          e.     Such other and further relief, whether general or special, at law or in equity, to

which Plaintiffs may be justly entitled.

                                            JURY DEMAND

          Pursuant to Federal Rule of Civil Procedure 38, Plaintiffs respectfully demand a jury trial

of all issues triable to a jury in this action.




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Dated: April 17, 2023                     Respectfully submitted,

                                          /s/ Samuel E. Joyner
                                          Samuel E. Joyner (Texas 24036865)
                                          FROST BROWN TODD LLP
                                          2101 Cedar Springs Road, Suite 900
                                          Dallas, Texas 75201
                                          Telephone: (214) 545-3472
                                          Facsimile: (214) 545-3473
                                          sjoyner@fbtlaw.com

                                          Attorneys for Plaintiffs
                                          RAW Resources, LLC and
                                          RAW Electric, LLC




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